Case 5:07-cr-04068-LTS-KEM   Document 396   Filed 09/22/08   Page 1 of 6
Case 5:07-cr-04068-LTS-KEM   Document 396   Filed 09/22/08   Page 2 of 6
Case 5:07-cr-04068-LTS-KEM   Document 396   Filed 09/22/08   Page 3 of 6
Case 5:07-cr-04068-LTS-KEM   Document 396   Filed 09/22/08   Page 4 of 6
Case 5:07-cr-04068-LTS-KEM   Document 396   Filed 09/22/08   Page 5 of 6
Case 5:07-cr-04068-LTS-KEM   Document 396   Filed 09/22/08   Page 6 of 6
